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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

SOFTWARE AG USA, INC.

                   Plaintiff,                        Civil Action No. 1:19-CV-00064 (JEB)

       v.

L. FRANCIS CISSNA, et al.,

                   Defendants.


                                   NOTICE OF DISMISSAL

       Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(i), this action is dismissed,

without prejudice, by the Plaintiff, Software AG USA, Inc., in its entirety.



                                     Respectfully submitted,

Dated: July 9, 2019                  MORGAN, LEWIS & BOCKIUS LLP

                                     By:/s/ Eric S. Bord
                                         Eric S. Bord (DC Bar No. 429350)
                                         eric.bord@morganlewis.com
                                         Daniel D. Schaeffer (DC Bar No. 888208991)
                                         daniel.schaeffer@morganlewis.com

                                     1111 Pennsylvania Avenue, NW
                                     Washington, DC 20004
                                     Telephone:     +1.202.739.3000
                                     Facsimile:     +1.202.739.3001

                                     Attorneys for Plaintiff
